
PER CURIAM.
Affirmed. See Carbajal v. State, 75 So. 3d 258 (Fla. 2011) ; Betancourt v. State, 804 So. 2d 313 (Fla. 2001) ; State v. King, 426 So. 2d 12 (Fla. 1982) ; Franke v. State, 997 So. 2d 424 (Fla. 2d DCA 2008) ; Shortridge v. State, 884 So. 2d 321 (Fla. 2d DCA 2004) ; Mosely v. State, 688 So. 2d 999 (Fla. 2d DCA 1997) ; Desmond v. State, 576 So. 2d 743 (Fla. 2d DCA 1991) ; Budd v. State, 477 So. 2d 52 (Fla. 2d DCA 1985) ; Foss v. State, 834 So. 2d 404 (Fla. 5th DCA 2003) ; McMillan v. State, 832 So. 2d 946 (Fla. 5th DCA 2002) ; Hart v. State, 761 So. 2d 334 (Fla. 4th DCA 1998).
CRENSHAW, MORRIS, and SLEET, JJ., Concur.
